Case 6:19-cv-01974-PGB-LHP Document 16 Filed 01/10/20 Page 1 of 2 PageID 59




                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


 AMARILYS DE LEON,

         Plaintiff,                                           Case No. 6:19-cv-01974-
                                                              PGB-LRH
 v.

 DIVIERSIFIED ADJUSTMENT SERVICE, INC.

         Defendant.
                                                    /


                                  NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE AMARILYS DE LEON (“Plaintiff”) hereby notifies the

Court that the Plaintiff and Defendant have settled all claims between them in this matter and

are in the process of completing the final closing documents and filing the dismissal. The Parties

anticipate this process to take no more than 60 days and request that the Court retain jurisdiction

for any matters related to completing and/or enforcing the settlement. The Parties propose to

file a stipulated dismissal with prejudice within 60 days of submission of this Notice of

Settlement and pray the Court to stay all proceedings until that time.


                                                              /s/ Alexander J. Taylor
                                                              Alexander J. Taylor
                                                              Admitted Pro Hac Vice
                                                              Sulaiman Law Group, Ltd.
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Case 6:19-cv-01974-PGB-LHP Document 16 Filed 01/10/20 Page 2 of 2 PageID 60




                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              s/ Alexander J. Taylor
                                                              Alexander J. Taylor
